
93 F.Supp. 58 (1950)
In re WRIGHT INDUSTRIES, Inc.
KEARNEY
v.
NATIONAL BRASS &amp; COPPER CO., Inc., et al.
No. 65749.
United States District Court N. D. Ohio, E. D.
September 6, 1950.
*59 *60 *61 *62 *63 *64 *65 *66 *67 Murray A. Nadler, Youngstown, Ohio, for trustee.
Ross E. Diser, Youngstown, Ohio, for National Brass &amp; Copper Co., Inc.
Riddle &amp; Riddle, Lisbon, Ohio, for bankrupt.
JONES, Chief Judge.
This is a petition for review of an order of the Referee in Bankruptcy that the mortgage and factor's lien of the petitioner were invalid as against the claim of the trustee.
The Referee held that (1) the mortgage and lien were fraudulent transfers under Section 67, sub. d(2) (d) of the Bankruptcy Act; (2) the mortgage and lien were preferences under Ohio law; and (3) the mortgage and lien were fraudulent conveyances under Ohio law.
It is sufficient to state that the Referee's holding that the mortgage and lien were fraudulent conveyances under the Bankruptcy Act is adequately supported by that part of the record upon which the Referee's ruling was based. Since the Referee's finding is one of fact, the Court is not able to say that he was clearly in error in his interpretation of the evidence; but rather, is justified in concluding the ruling of the Referee is correct.
Thus it is unnecessary to consider petitioner's contention as to the second and third holdings set forth above.
The petition for review will be denied and dismissed and the report of the Referee approved and confirmed.
